




Dismissed and Memorandum Opinion filed April 3, 2008








Dismissed
and Memorandum Opinion filed April 3, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00170-CR

____________

&nbsp;

AARON RENDELL HARGROVE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
248th District Court

Harris County, Texas

Trial Court Cause No. 1151529

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to bail jumping and failure to appear.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
sentenced appellant on February 7, 2008, to confinement for two years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed April
3, 2008.

Panel consists of Chief Justice Hedges and Justices
Fowler and Boyce. 

Do Not Publish C Tex. R. App. P.
47.2(b)





